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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SAMA CAMP, LLC,
      Plaintiff,
v.                                          CIVIL ACTION NO. 1:22-cv-01722-TCB

SAMA TEA, LLC; SAMA
WORLDWIDE INC.; SAMA
BEVERAGES, LLC; 100.CO; JAY
SHETTY; RADHI DEVLUKIA
SHETTY; KIM PERELL; and JAMES
BRENNAN,
      Defendants.

         JOINT MOTION FOR ENTRY OF PROTECTIVE ORDER

      The Parties, in preparation for discovery disclosures that are likely to include

trade secrets and/or personal identifying information, respectfully request that the

Court enter the attached Proposed Protective Order governing the disclosure of

confidential information.

                            [signatures on following page]
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     Respectfully submitted, this 30th day of August, 2022,

SPERRY IP LAW d/b/a VIVID IP           WEINBERG, WHEELER, HUDGINS,
/s/Tayah Woodard______________            GUNN & DIAL, LLC
Marcy L. Sperry                        /s/ William C. Buhay_________________
marcy@vividip.com                      William C. Buhay
Tayah L. Woodard                       wbuhay@wwhgd.com
tayah@vividip.com                      Brianna A. Burrows
3017 Bolling Way NE                    bburrows@wwhgd.com
Atlanta, Georgia 30305                 3344 Peachtree Road NE
(404) 474-1600                         Suite 2400
                                       Atlanta, GA 30326
BEKIARES ELIEZER, LLP                  Phone: 404-876-2700
Zachary Eyster                         Fax: 404-875-9433
2870 Peachtree Rd. #512
Atlanta GA 30305
zeyster@founderslegal.com              Attorneys for Defendants Sama Tea, LLC,
Telephone: 404.537.3686                Sama Beverages, LLC, Sama Worldwide,
                                       Inc., 100.co Global Holdings, LLC, Jay
Attorneys for Plaintiff Sama Camp,     Shetty, Radhi Devlukia Shetty, Kim
LLC                                    Perell, and James Brennan




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